86 F.3d 1174
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Francis J. WITTS, Petitioner,v.MERIT SYSTEMS PROTECTION BOARD, Respondent,andUnited States Postal Service, Intervenor.
    No. 95-3603.
    United States Court of Appeals, Federal Circuit.
    April 22, 1996.
    
      1
      Francis J. Witts, Dracut, MA.
    
    
      2
      Brian M. Reimer, Appellate Division, Law Department, U.S. Postal Service, Washington, DC.
    
    
      3
      William A. Cardoza, Merit Systems Protection Board, Washington, DC.
    
    
      4
      Timothy B. Walthall, Commercial Litigation Branch, Civil Division, Department of Justice, Classification Unit, Washington, DC.
    
    
      5
      68 M.S.P.R. 80.
    
    
      6
      AFFIRMED.
    
    ORDER
    
      7
      Upon consideration of the Merit Systems Protection Board's motion for summary affirmance,
    
    IT IS ORDERED THAT:
    
      8
      The motion is GRANTED and the final decision of the Merit Systems Protection Board is AFFIRMED.
    
    